     Case 2:24-cr-00091-ODW      Document 178 Filed 11/18/24      Page 1 of 6 Page ID
                                         #:2179



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13                           UNITED STATES DISTRICT COURT
14
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
16   UNITED STATES OF AMERICA,                      No. CR 2:24-cr-00091-ODW

17              Plaintiff,                          GOVERNMENT’S PROPOSED
18                                                  VOIR DIRE QUESTIONS
                       v.
19   ALEXANDER SMIRNOV,                             Trial Date:      December 3, 2024
20                                                  Trial Time:      9:00 a.m.
                Defendant.                          Location:        Courtroom of the
21                                                                   Hon. Otis Wright
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           The parties— the Plaintiff, United States of America, by and through its counsel of
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     record, pursuant to the Court’s April 12, 2024 Order Continuing Trial (ECF 65), which
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     Case 2:24-cr-00091-ODW      Document 178 Filed 11/18/24        Page 2 of 6 Page ID
                                         #:2180



 1   incorporates by reference the parties’ joint stipulation (ECF 64), submits Proposed Voir
 2   Dire Questions for the trial of defendant Alexander Smirnov.
 3
 4    Dated: November 18, 2024
 5
      Respectfully submitted,
 6
      DAVID C. WEISS
 7
      Special Counsel
 8
      /s/
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     Case 2:24-cr-00091-ODW     Document 178 Filed 11/18/24        Page 3 of 6 Page ID
                                        #:2181



 1              GOVERNMENT’S PROPOSED VOIR DIRE QUESTIONS
 2        1.    [Court Describes Trial Schedule]. Does the schedule that I have just
 3              mentioned present a special problem to any of you?
 4        2.    [Court Reads Statement of the Case]. Have you heard or read anything about
 5              this case or the underlying investigation from the news, social media, or any
 6              other source?
 7        3.    Have you formed any opinions about this case that would prevent you from
 8              being a fair and impartial juror?
 9        4.    Is there anything about the nature of the charges in this case that would
10              prevent you from being a fair and impartial juror?
11        5.    The lawyers involved in this case are: Leo Wise and Derek Hines, of the
12              United States Department of Justice, who represent the United States, and
13              [Insert Defense Lawyers], who represent the defendant, Alexander Smirnov.
14              Do you or your immediate family, such as spouse, child, parent, or sibling,
15              know any of the attorneys I have just named?
16        6.    Have you or any member of your immediate family had any business
17              dealings with, or been employed by, any of these attorneys or their offices?
18        7.    Are you, any member of your immediate family, or close friends
19              acquaintances with Alexander Smirnov or any member of his family?
20        8.    The potential witnesses in this case are: [Read from Witness Lists Provided
21              to Court by the Parties]. Are you familiar with any of these potential
22              witnesses?
23        9.    The law enforcement agency involved in this case is the Federal Bureau of
24              Investigation (FBI). Would the fact that this agency investigated this case
25              interfere with your ability to be a fair and impartial juror?
26        10.   Have you, any member of your immediate family, or close friends ever been
27              employed by, or investigated by, any law enforcement agency, including:
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     Case 2:24-cr-00091-ODW     Document 178 Filed 11/18/24         Page 4 of 6 Page ID
                                        #:2182



 1              state or local police, the IRS, the FBI, ATF, DEA, the Secret Service, U.S.
 2              Marshals, U.S. Immigration and Customs Enforcement, U.S. Customs and
 3              Border Protection, the Bureau of Prisons, any state or federal prosecutor’s
 4              office, or any state or local prison system?
 5        11.   Do you believe that a private citizen should be able to lie to a law
 6              enforcement officer?
 7        12.   Do you believe that you will give more or less weight to the testimony of a
 8              law enforcement officer, simply because he or she is employed as a law
 9              enforcement officer?
10        13.   Have you or any member of your immediate family ever been (a) a victim
11              of a crime, (b) a witness in a criminal case, or (c) arrested for a crime, not
12              including minor traffic offenses?
13        14.   Do you have any opinions about the criminal justice system that would make
14              it difficult for you to be a fair and impartial juror in this case?
15        15.   Are you, any member of your immediate family or a close friend studying,
16              planning to or currently working in a legal profession (e.g., lawyer,
17              paralegal, legal secretary)?
18        16.   If you were eligible to vote in any election(s) in which Joseph R. Biden was
19              a candidate, would that fact prevent you from maintaining an open, impartial
20              mind until all of the evidence is presented, and the instructions of the Court
21              are given?
22        17.   Have you ever donated money to a political campaign?
23        18.   Have you ever been actively involved in a political campaign, political
24              organization, or any organization that is associated with a political party?
25        19.   Have you, or any member of your immediate family or household ever run
26              for, sought, or held any elected or appointed political office?
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     Case 2:24-cr-00091-ODW    Document 178 Filed 11/18/24         Page 5 of 6 Page ID
                                       #:2183



 1        20.   Do your views regarding the 2020 election in any way prevent you from
 2              being a fair and impartial juror in this case?
 3        21.   Do you believe the United States Department of Justice, the FBI, ATF,
 4              DEA, or any other law enforcement agency investigates and prosecutes
 5              individuals because of politics?
 6        22.   If you are selected to sit as a juror in this case, would you be unable to render
 7              a verdict solely on the evidence presented at trial?
 8        23.   If you are selected to sit as a juror in this case, would you be unable to follow
 9              the law as I give it to you?
10        24.   If you are chosen to sit as a juror in this case, you will be instructed that you
11              will not be able to do any research or investigation, including on the Internet,
12              on any issues in the case or communicate with others about your jury
13              service. Is this an instruction that you will be unable to follow?
14        25.   Under the law, a defendant need not testify or produce any evidence. The
15              burden of proof is always on the government. If a defendant does not testify,
16              the jury may not consider that fact in any way in reaching a decision. Would
17              you have any difficulty following this rule?
18        26.   A fundamental principle of our legal system is that when a person is charged
19              with a crime, he is presumed to be innocent unless and until the Government
20              proves guilt beyond a reasonable doubt. If you are selected as to sit as a juror
21              in this case, will you have difficulty following this rule of law?
22        27.   Alexander Smirnov, as the defendant in this case, may choose not to testify
23              in his own defense, and I instruct you that the choice not to testify, if that is
24              Alexander Smirnov’s choice, may not be held against him. If you are
25              selected as a juror in this case, will you have difficulty following this
26              instruction?
27        28.   Have you served on a jury in a criminal case before?
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     Case 2:24-cr-00091-ODW    Document 178 Filed 11/18/24        Page 6 of 6 Page ID
                                       #:2184



 1        29.   Have you served on a grand jury before?
 2        30.   Have you ever been a witness in a civil or criminal matter, or been a plaintiff
 3              or defendant in any case?
 4        31.   Is there anything, such as poor vision, difficulty hearing, difficulty
 5              understanding spoken or written English, that would make it difficult for
 6              you to serve on this jury?
 7        32.   This is the last question. Is there anything else, including something that you
 8              have remembered in connection with one of the earlier questions, that you
 9              think you would like to tell me in connection with your service as a juror in
10              this case?
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